Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 1 of 26




                EXHIBIT 1




                                                        Exhibit 1
                Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 2 of 26
                                        Harris County Docket Sheet


2021-49840
COURT: 295th
FILED DATE: 8/12/2021
CASE TYPE: Premises

                                        TAFT, TIERRA
                                       Attorney: HADI, HUSEIN

                                                 vs.
                                   TARGET CORPORATION


                                         Docket Sheet Entries
             Date        Comment




2021-49840                                                                             Page 1 of 1

295                                                                           9/10/2021 5:55:25 AM
Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 3 of 26




                EXHIBIT 2




                                                        Exhibit 2
 Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 4 of 26

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    08/17/2021
                                                                                                    CT Log Number 540093951
TO:         Sue Carlson
            Target Corporation
            1000 NICOLLET MALL
            MINNEAPOLIS, MN 55403-2542

RE:         Process Served in Texas

FOR:        Target Corporation (Domestic State: MN)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  TIERRA TAFT, PLTF. vs. TARGET CORPORATION, DFT.
DOCUMENT(S) SERVED:                               --
COURT/AGENCY:                                     None Specified
                                                  Case # 202149840
NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:                         By Process Server on 08/17/2021 at 02:50
JURISDICTION SERVED :                             Texas
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 08/17/2021, Expected Purge Date:
                                                  08/22/2021

                                                  Image SOP

                                                  Email Notification, Non Employee Litigation Target gl.legal@target.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  1999 Bryan Street
                                                  Suite 900
                                                  Dallas, TX 75201
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / EM
               Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 5 of 26




                               PROCESS SERVER DELIVERY DETAILS




Date:                            Tue, Aug 17, 2021

Server Name:                     David Valfer




Entity Served                    TARGET CORPORATION

Case Number                      202149840

Jurisdiction                     TX
              Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 6 of 26

                                                 CAUSE NO. 202149840
COPY OF PLEADING PROVIDED BY PLT

                                                             RECEIPT NO: 904182 TRACKING NO: 73901492
                                                                   EML
Plaintiff:                                                                       In The 295th
TAFT, TIERRA                                                                     Judicial District Court of
vs.                                                                              Harris County, Texas
Defendant:                                                                       201 CAROLINE
TARGET CORPORATION                                                               Houston, Texas
                                                CITATION CORPORATE
THE STATE OF TEXAS
County of Harris

To:    TARGET CORPORATION MAY BE SERVED WITH SERVICE OF PROCESS BY SERVING THE
REGISTERED AGENT OF THE CORPORATION
CT CORPORATION SYSTEM
1999 BRYAN STREET SUITE 900, DALLAS TX 75201

        Attached is a copy of: PLAINTIFFS ORIGINAL PETITION AND REQUESTS FOR DISCLOSURE

This instrument was filed on August 12, 2021 in the above cited cause number and court. The instrument attached describes
the claim against you.

        YOU HAVE BEEN SUED. You may employ an attorney. If you or your Attorney do not file a written answer with
the District Clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration date of 20 days after
you were served this citation and petition, a default judgment may be taken against you. In addition to filing a written answer
with the clerk, you may be required to make initial disclosures to the other parties of this suit. These disclosures generally
must be made no later than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

        This citation was issued on August 12, 2021, under my hand and seal of said court.


                                                                                    "iYtoMJ.,- ~F
Issued at the request of:                          .,..~--......                   Marilyn Burge:;:;, District Clerk
                                            .   ~·of HA/?19,~
HADI ' HUSEIN                      I~__,...._   "IS'                               Harris County, Texas
7100 REGENCY SQUARE BLVD, STE 140{8
                                     ;:j/
                                                 (~ ~~
                                                   0
                                                                                   201 CAROLINE Houston Texas 77002
HOUSTON, TX 77036                \ 'g, \ H)~)                                      (PO Box 4651, Houston, Texas 77210)
832-433-7977                      \ ~.sl'-.... / f»-v1
Bar Number: 24067641                '\.'~-~==-~
                                                                                   Generated By:PATRICIA JONES
   Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 7 of 26




                                    NO. _ _ _ _ __

 TIERRA TAFT                                    §                  IN THE DISTRICT COURT
 Plaintiff,                                     §
                                                §
 v.                                             §                      JUDICIAL DISTRICT
                                                §
 TARGET CORPORATION                             §
 Defendant.                                     §            OF HARRIS COUNTY, TEXAS


      PLAINTIFF'S ORIGINAL PETITON AND REQUESTS FOR DISCLOSURE


TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES TIERRA TAFT, hereinafter called Plaintiff, complains of and about

TARGET CORPORATION, hereinafter called Defendant, and for cause of action show unto the

Court the following:

                          DISCOVERY CONTROL PLAN LEVEL

       1.      Pursuant to Ru1e 190.4 of the Texas Ru1es of Civil Procedure Plaintiff intends that

discovery be conducted umlt:r a L~vt!l 2 Discovery Control Platt

                                  P AR'tiES AND SERVICE

        ?.     Plaintiff, TIERRA TAFT, is an individual who resides in Houston, Texas 77095.

        3.     Defendant TARGET CORPORATION, a corporation doing business in Texas,

and service of process on the Defendant may be effected pursuant to article 2.11(A) of the Texas

Business Corporation Act, or its successor statute, sections 5.201 and 5.255 of the Texas

Business Organizations Code, by serving the registered agent of the corporation, CT Corporation

System at 1999 Bryan Street, Suite 900, Dallas Texas 75201, its registered office. Service of said

Defendant as described above can be effected by personal delivery.



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   Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 8 of 26




                                  JURISDICTION AND VENUE

          4.     The subject matter in controversy is within the jurisdictional limits of this court.

          5.     This court has jurisdiction over the parties because Defendant is a company that

conducts business and has a registered agent in Texas.

          6.     Venue in Harris County is proper in this cause under Section 15.002(a)(l) of the

Texas Civil Practice and Remedies Code because all or a substantial part of the events or

omissions giving rise to this lawsuit occurred in this county.

                                                FACTS

          7.     On or about August 14, 2019, Plaintiff was working at TARGET

CORPOR ATTON, located at 12701 Farm to Market 19n0 Road West, Houston, TX 770n:'5.

Whilt: tht: Plaintiff was walking, she slippt:u awl fdl uii her knee. Al tht: time of the incidt:ut lht:

store was managed, maintained, occupied, controlled, leased, operated, and/or owned by

Defendant, TARGET CORPORATION. As a result of lhe                a~~ident,   Plaintiff suslaiu~u   s~tiuus


personal injuries for which she had to seek the care of medical professionals.

                  LIABILITY OF DEFENDANT TARGET CORPORATION

          8.     At the time and on the occasion in question, Defendant TARGET

CORPORATION, managed, maintained, occupied, controlled, leased, operated, and/or owned

the Target store located at 12701 Farm to Market 1960 Road West, Houston, TX 77065. In

setting up and maintaining the store, Defendant and its employees failt:d tu ust: onliuary cau: by

v~rious   acts of omissions anrl/or commissions, inclnrling but not limited to the following, each of

which singularly or in combination, was a proximate cause of the incident in question:

                 A.     In failing to monitor the condition of the floor in the store;



                                                   2
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               B.      In failing to promptly clean the floor;

               C.      In failing to properly train its employees;

               D.      In failing to warn others that a dangerous condition existed; and

               E.      In creating a hazard to others.

       9.      Such negligence, either singularly or m combination, proximately caused

Plaintiff's injuries and resulting damages.

        10.    Nothing Plaintiff did or failed to do was a proximate or contributing cause of the

incident made the basis of this suit.

                                        PREMISES LIABILTY

        11.    Plaintiff TIERRA TAFT was working on the premises in question managed,

maintained, occupied, controlled, leased, operated, and/or owned by Defendant. Defendant

knew, or in the exercise of ordinary care, should have known of an unreasonable dangerous

condition existing on the floor, which posed an unreasonable risk or harm to the general public,

including Plaintiff, TIERRA TAFT, but failed to inspect and make safe or adequately warn her

of the condition.

        12.    In the alternative, Plaintiff would show that she was a licensee on the premises in

question managed, maintained, occupied, controlled, leased, operated, and/or owned by

Defendant. Defendant knew of an unreasonable dangerous condition existing on the floor, which

posed an unreasonable risk of harm to the general public, including Plaintiff TIERRA TAFT, but

failed to make safe or adequately warn her of the condition. Plaintiff was without knowledge of

the dangerous condition of the premises prior to the incident in question.




                                                 3
  Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 10 of 26




                                       PROXIMATE CAUSE

       13.        Each and every, all and singular of the foregoing acts and omissions, on the part

of Defendant, taken separately and/or collectively, constitute a direct and proximate cause of the

injuries and damages set forth below.

                          DAMAGES FOR PLAINTIFF TIERRA TAFT

       14.        As a direct and proximate result of the occurrence made the basis of this lawsuit

and Defendant's acts as described herein, Plaintiff TIERRA TAFT was caused to suffer personal

injuries and to endure anxiety, pain, and illness resulting in damages more fully set forth below:

             a. The physical pain and mental anguish sustained from the date of incident to the
                time of verdict herein;

             b. The physical pain and mental anguish which, in reasonable medical probability,
                will be suffered after the date of verdict herein;

             c. The reasonable and necessary costs of medical care and treatment, including
                doctors, hospitals, nurses, medicines, and other services and supplies from the
                date of the incident to the time of verdict herein;

             d. The reasonable and necessary costs of medical care and treatment, including
                doctors, hospitals, nurses, medicines, and other services and supplies, which, in
                reasonable probability will be incurred in the future after the date of verdict
                herein;

             e. Physical impairment which has been sustained, resulting in lessened use and/or
                movement of various parts of Plaintiffs body from the date of the incident to the
                date of verdict herein; and

             f.   The physical impairment which, in reasonable probability, will be sustained to
                  various parts of Plaintiffs body, resulting in lessened use and/or movement of
                  same in the future after the date of verdict herein.

             g. Physical disfigurement which has been sustained, resulting in lessened use and/or
                movement of various parts of Plaintiffs body from the date of the incident to the
                date of verdict herein; and


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              h. The physical disfigurement which, in reasonable probability, will be sustained to
                 various parts of Plaintiffs body, resulting in lessened use and/or movement of
                 same in the future after the date of verdict herein. ·

        15.      By reason of the above, Plaintiff, TIERRA TAFT has suffered losses and

damages in a sum within the jurisdictional limits of the Court and for which this lawsuit is

brought.

                                    PRESERVING EVIDENCE

        16.      Plaintiff hereby requests and demand that Defendant preserves and maintains all

evidence pertaining to any claim or defense related to the incident made the basis of this lawsuit

or the damages resulting there from; including statements, photographs, videotape!:i, audiotape!:i,

surveillance or security tape!:i or information, busine!J!J or medical rocord!:i, incident reports, tenant

files, periodic report<;, financial statements, bills, telephone call slips or records, estimate:s,

invoices, checks, measurements, correspondence, facsimiles, email, voice mail, text messages,

a:nd evidence involving the incident in qm:sliuu,      ~mel   any elec:tronic irrmge or infor111aliuu rdHit:cl

to the referenced incident or damages. Failure to maintain such items will constitute "spoliation"

of the evidence.

                                          NOTICF, OF USE·

        17.      Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Defendant is

hereby notified that Plaintiff intends to usc all documents produced by Defendant in response to

wrilleu discovery in pretrial proceedings and trial. Defendaul is n:4u.in!d to assert any objecliun

to the authenticity of any document Plaintiff produces within ten days of its production.

                    STATEMENT REGARDING MONETARY RELIEF SOUGHT

        18.      Under the Texas Rules of Civil Procedure 47 (c), Plaintiff seek monetary relief



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over $250,000.00 but less than $1,000,000.00 including damages of any kind, penalties, costs,

expenses, pre-judgement interest, and judgement for all other relief to which Plaintiff is justly

entitled. Plaintiff expressly reserves the right to amend this damage calculation as discovery

progresses.

                               REQUEST FOR DISCLOSURES

       19.     Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests that

each and every Defendant disclose, the information and material described in Rule 194.2 within

thirty (30) days of after the filing of the first answer or general appearance, the information and

material described in Rule 194.2.

                       DESIGNATED E-SERVICE EMAIL ADDRESS

       20.     The following is the undersigned attorney's designated e-Service email address

for all e- served documents and notices, filed and unfiled, pursuant to Tex. R. Civ. P. 21(f)(2) &

21a: Litigation@TheHadiLawFirm.com. This is the undersigned's only e-Service email address,

and service through any other email address will be considered invalid.

                           REQUEST FOR DEPOSITION DATES

       21.     Pursuant to Rule 199 of the Texas Rules of Civil Procedure, Plaintiff request that

each and every Defendant disclose, within fifty (50) days of service of this request, dates that

Defendant is available for Plaintiff to take Defendant's deposition. Plaintiff request that each

corporate Defendant provide dates that Defendant's corporate representative is available for

Plaintiff to take Defendant's corporate representative's deposition.

                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, TIERRA TAFT, respectfully



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prays that the Defendant be cited to appear and answer herein, and that upon a final hearing of

the cause, judgment be entered for the Plaintiff against Defendant for damages in an amount

within the jurisdictional limits of the Court; together with pre-judgment interest at the maximum

rate allowed by law; post-judgment interest at the legal rate, costs of court; and such other and

further relief to which the Plaintiff may be entitled at law or in equity.

                                               Respectfully submitted,

                                               THE IIADI LAW FIRM, PLLC       ~



                                               By: __
                                                         ~~
                                                      ~-----------------------------­
                                               Husein Hadi
                                               Texas BarNo. 24067641
                                               Jamil Thomas
                                               Texas Bar No. 24066914
                                               Carnegie H. Mims, III
                                               Texas Bar No. 24046448
                                               Sedrick Stagg
                                               Texas BarNo. 24102815
                                               Seve Thomas
                                               Texas Bar No. 24115145
                                               Ariana Mehdipour
                                               Texas Dar Nu. 24123765
                                               7100 Regency Square Boulevard, Suite 140
                                               Houston, TexaG 77036
                                               Tel: (832) 433-7977
                                               Fax: (855) 423-4529
                                               litigation@thchadilawfrrm.com
                                               Attorneys for Plaintiff

                    PLAINTIFF HEREBY DEMANDS TRIAL BY JURY

                                 DATE FILED: August 12, 2021




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                EXHIBIT 3




                                                        Exhibit 3
            Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 15 of 26                                    8/19/2021 12:44 PM
                                                                                             Marilyn Burgess - District Clerk Harris County
AFFIDAVIT A'ITACHED                                                                                               Envelope No. 56465864
                                                 CAUSE NO. 202149840                                                      By: Daisy Puente
COPY Ol" PLEADING PROVIDED BY PLT
                                                                                                               Filed: 8/19/2021 12:44 PM

                                                      RECEIPT NO: 904182 TRACKING NO: 73901492
                                                        EML
Plaintiff:                                                               In The 295th
TAFT, TIERRA                                                             Judicial District Court of
vs.                                                                      Harris County, Texas
Defendant:                                                               201 CAROLINE
TARGET CORPORATION                                                       Houston, Texas
                                                CITATION CORPORATE
THE STATE OF TEXAS
County of Harris

To:   TARGET CORPORATION MAY BE SERVED WITH SERVICE OF PROCESS BY SERVING THE
REGISTERED AGENT OF THE CORPORATION
CT CORPORATION SYSTEM
1999 BRYAN STREET SUITE 900, DALLAS TX 75201

        Attached is a copy of: PLAINTIFFS ORIGINAL PETITION AND REQUESTS FOR DISCLOSURE

This instrument was filed on August 12, 2021 in the above cited cause number and court. The instrument attached describes
the claim against you.

        YOU HAVE BEEN SUED. You may employ an attorney. If you or your Attorney do not file a written answer with
the District Clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration date of 20 days after
you were served this citation and petition, a default judgment may be taken against you. In addition to filing a written answer
with the clerk, you may be required to make initial disclosures to the other parties of this suit. These disclosures generally
must be made no later than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

        This citation was issued on August 12, 2021, under my hand and seal of said court.


                                                                                    ~4-&.tr
Issued at the request of:                                      . -.:...~..:_
                                                   ,......;.;:.:;;                 Marilyn Burgess, District Clerk
                                                /"'' of HAI?J?.."-.
HADI, HUSEIN                       /~~'\------·---:.$'Cl\                          Harris County, Texas
7100 REGENCY SQUARE BLVD , STE 140/ 8 (~\ ~ \                                      201 CAROLINE Houston Texas 77002
HOUSTON, TX 77036                             \t) \. H .   j ~~                    (PO Box 4651 , Houston, Texas 77210)
832-433-7977
Bar Number: 24067641
                                   ~~----..
                                                          *. . / ,0
                                    '-...~..._..___.......~/
                                                                                   Generated By:PATRICIA JONES




 AFFIDAVIT ATTACHED
Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 16 of 26




                                                         Officer or Authorized return

Came to hand on the 17th day of August A.D., 2021, at 8:00 o'clock.
A.M. and executed by delivering Target Corporation through registered agent CT
Corporation System accepted by Kirk Atkins on the 17th day of August A, D. 2021 ,
at 12:04 o'clock A.M., the within named defendant, in person, a true copy of this
Citation, together with a copy of original petition with date of service marked thereon, at the
following location,     1999 Brvan Street. Suite 900 Dallas Texas 75201




Citation: 202149840
Plaintiffs Original Petition and Request for Disclosure



Witness Fee:
For mileage _ _ __
                      ----
For Notary_ _ _ __




_     _     _ ,£"-"~'- e.-A_· ;_--'-Y
                                    -"''.......:l: v l
                                            ::,..__+-
                                                   . _ _ _ _ __                   PSC 4688 expires 2/28/2022.
                                                              Dave Valfer, 1801 Vassar Drive Richardson, Texas
                                                                            Authorized Person


COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE. OR CLERK OF THE COURT.
In accordance with Rule 107: The officer or authorized person who serves . or attempts to serve, a citation shall sign the return. The
signature is not required to be verified . if the return is signed by a person other than a sheriff, constable, or the clerk. of the court, the
return shall be signed under penally of perjury and contain the following statement:




My name is Dave Valfer

My date of birth is;             July 2, 1960               and my address is; 1801 Vassar Drive Richardson Texas 75081
                                                                                        Dallas County, Texas


I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.
            Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 17 of 26


Dave Valfer

From:                              CLS-SOPDALTEAM@WOLTERSKLUWER.COM
Sent:                              Tuesday, August 17, 2021 12:05 PM
To:                                premierprocess@swbell.net
Subject:                           Intake Portal -Job #96264 has been received




Hello David Valfer,

We confirm receipt of the following documents via the Intake Portal on the date, time and location indicated below.

Date: Tue, Aug 17, 2021
Time: 12:04 PM
Name: David Valfer
Juris Served: TX
Job 10: 96264




  TARGET CORPORATION                            C T CORPORATION SYSTEM                               202149840


You can also view the status of jobs you at
https://intake .ctcorporation.com/

Thank you
Intake Specialist: Kirk Atkins
CT Corporation, a Wolters Kluwer Company
Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 18 of 26




                EXHIBIT 4




                                                       Exhibit 4
       Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 19 of 26                          9/9/2021 10:40 AM
                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                  Envelope No. 57082813
                                                                                                          By: DAVIA FORD
                                                                                                 Filed: 9/9/2021 10:40 AM

                                      CAUSE NO. 202149840
 TIERRA TAFT,                                    §           IN THE DISTRICT COURT
       Plaintiff,                                §
                                                 §
 vs.                                             §           295TH JUDICIAL DISTRICT
                                                 §
 TARGET CORPORATION,                             §
       Defendant.                                §           HARRIS COUNTY, TEXAS

                         TARGET CORPORATION’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Defendant TARGET CORPORATION, and files this, its Original Answer to

Plaintiff’s Original Petition and any supplements and/or amendments thereto, and shows the

Court as follows:

                                              I.
                                        GENERAL DENIAL

         1.    Defendant generally denies each and every material allegation contained in

Plaintiff’s Original Petition and any amendment or supplement thereto, demands strict proof

thereof, and to the extent that such matters are questions of fact, says Plaintiff should prove such

facts by a preponderance of the evidence to a jury if she can so do.

                                           II.
                    DEFENSES AND LIMITATIONS ON LIABILITY AND DAMAGES

         2.    Defendant denies Plaintiff’s claims that they were negligent and further denies

that its alleged acts or omissions proximately caused Plaintiff’s alleged damages.

         3.    Defendant denies that it or any Defendant employee was engaged in

contemporaneous negligent activity at the time of the incident in question.




TARGET CORPORATION’S ORIGINAL ANSWER                                                              Page 1
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        4.      Defendant claims that Plaintiff may have failed to use that degree of care and

caution as would have been used by a reasonable person under the same or similar

circumstances, thereby producing or proximately causing or contributing to cause her injuries

and damages, if any. Such acts or omissions of Plaintiff, if any, were the sole proximate cause of

Plaintiff’s damages or injuries, if any.

        5.      Defendant claims that Plaintiff’s damages or injuries, if any, may have been caused

by the acts or omissions of third persons not under the control of Defendant. If so, such acts or

omissions of said third persons, if any, were the sole and/or a producing and/or a proximate

cause of Plaintiff’s damages or injuries, if any.

        6.      Defendant contends that it is not liable to Plaintiff because she was doing the

same character of work that she had always done and that other employees in other stores were

required to do, and the work involved was not unusual, inherently dangerous, or unusually

hazardous.

        7.      Defendant asserts that it owed Plaintiff no duty to warn, train, or provide

additional equipment or employees because the task she was performing did not require special

training or tools and the risks associated with it are commonly known and/or appreciated by

Plaintiff.

        8.      Defendant asserts that it had neither actual nor constructive prior knowledge of

the condition about which Plaintiff complains and that in any event, the alleged hazard was not

“unreasonably dangerous.”

        9.      In the alternative, Defendant further claims that the allegedly unreasonable

premises condition, if any, was open and obvious, already appreciated by Plaintiff, a commonly



TARGET CORPORATION’S ORIGINAL ANSWER                                                         Page 2
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known hazard, or was a known risk. Accordingly, Defendant denies that it owed any duty to warn

Plaintiff of the alleged premises condition or protect her from same. Austin v. Kroger Texas L.P.,

465 S.W.3d 193, 203 (Tex. 2015).

       10.     In the alternative, Defendant would show that the accident complained of was an

unavoidable accident as that term is known in law, not caused by the negligence of any party.

       11.     Defendant states that Plaintiff’s damages complained of, if any, may have been

the result of prior or pre-existing injuries, accidents, or conditions, and said prior or pre-existing

injuries, accidents, or conditions were the sole and/or a contributing cause of the Plaintiff’s

damages alleged against Defendant.

       12.     Defendant claims that Plaintiff may be malingering and exaggerating the nature

and severity of her injuries in order to continue treatment and/or inflate damages, and, in that

event, Defendant contends that said treatment is not medically necessary or reasonable.

       13.     Defendant contends that any claims for past and future medical or health care

expenses incurred are limited to the customary and usual amounts charged for reasonable and

necessary medical care and, as regards past medical expenses, are further limited to the amounts

actually paid or incurred by or on behalf of Plaintiff pursuant to Texas Civil Practice and Remedies

Code § 41.0105.

       14.     Defendant would further show that, pursuant to § 18.091 of the Texas Civil

Practice & Remedies Code, to the extent that Plaintiff is seeking a recovery for loss of earnings,

lost wages, loss of earning capacity and/or loss of contributions of pecuniary value, evidence of

this alleged loss must be presented by the Plaintiff in the form of a net loss after reduction for

income tax payments, or unpaid tax liability to any federal income tax law.



TARGET CORPORATION’S ORIGINAL ANSWER                                                            Page 3
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        15.     In the unlikely event an adverse judgment is rendered against it in this matter,

Defendant respectfully prays for contribution, indemnity and all available credits and/or offsets

as provided for in the Texas Civil Practice and Remedies Code and under Texas law.

        16.     Defendant is further entitled to a credit or offset against any judgment that may

be rendered against it for any and all amounts paid to or on behalf of Plaintiff under any of

Defendant’s benefit or insurance programs, including, but not limited to, the Target Corporation

Texas Occupational Injury Benefit Plan.

        17.     Defendant further contends that it is entitled to have the factfinder allocate

responsibility, if any, among all parties, including settling parties and responsible third parties, in

accordance with Chapters 32 and 33 of the Texas Civil Practice and Remedies Code.

                                             III.
                                 REQUEST FOR COURT REPORTER

        18.     Defendant respectfully demands a court reporter be present at all proceedings

before the Court.

                                                 IV.
                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant Target Corporation respectfully prays

that Plaintiff take nothing by this cause of action, that it be permitted to recover the costs

expended on its behalf, and for such other and further relief to which it may show itself justly

entitled, in law or in equity.




TARGET CORPORATION’S ORIGINAL ANSWER                                                             Page 4
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                                           Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing document has been
forwarded to all counsel of record pursuant to and in accordance with the Texas Rules of Civil
Procedure on September 9, 2021.

                                           /s/ Donna C. Peavler
                                           Donna C. Peavler




TARGET CORPORATION’S ORIGINAL ANSWER                                                    Page 5
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Case 4:21-cv-02946 Document 1-2 Filed on 09/10/21 in TXSD Page 25 of 26




                EXHIBIT 5




                                                          Exhibit 5
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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

 TIERRA TAFT                                 §
       Plaintiff,                            §
                                             §
 v.                                          §         CIVIL ACTION NO. 4:21-cv-2946
                                             §
 TARGET CORPORATION                          §
      Defendant.                             §

                                LIST OF ALL COUNSEL OF RECORD

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